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 UNITED STATES BANKRUPTCY COURT
 EASTERN DISTRICT OF NEW YORK
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 In re: Renee Butler (CEC) Maslikhov                               Chapter 11
        aka Renee Butler,                                    Case No. 19-42688 (CEC)
                            the Debtor.
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 Renee Butler (CEC) Maslikhov,
                                                              Adv. Compl. Case #19−01083−cec


                                     Plaintiff,
 v.
 Sergei Maslikhov,
                                  Defendant.
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  Order Granting Motion to Strike the Affirmative Defenses, Counterclaims
                       and Judgment on Pleadings
         Whereas the Debtor, Rene Butler (CEC) Maslikhov (the “Plaintiff”) on
 June 18, 2019 commenced an adversary proceeding (Complaint) for permission to
 sell co-owned real property located at 328 Jefferson Avenue, Brooklyn, NY
 11216 (the “Real Property”) under 11 U.S.C. § 363(h);

         Whereas Sergei Maslikhov (the “Defendant”), on July 24, 2019 filed an
 Answer to the Complaint, asserting certain affirmative defenses and
 counterclaims;

         Whereas the Plaintiff having moved a motion, docket no. 6, under FRBP
 7012(f) for striking the Defendant’s asserted defenses and counterclaims as
 insufficient, redundant, immaterial and impertinent;

         Whereas the plaintiff also sought relief under FRBP 7012(c) for a
 judgment on pleadings;




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             Whereas all pleadings having been filed, and the motion being fully
    briefed, and parties been heard on August 28, 2019;

             Whereas the defendant did not exercise his right of first refusal regarding
    the purchase of the property; (CEC)

             Whereas the defendant opposed the Adversary Proceeding with
    affirmative defenses and asserted some counterclaims

             Whereas Defendant’s affirmative defenses and counterclaims were not
    found to be meritorious or relevant and were unnecessary;

             IT IS HEREBY ORDERED that Plaintiff’s Motion for Judgment on the
    Pleadings is GRANTED. All affirmative defenses and counterclaims against the
    Plaintiff are stricken and are thus denied in their entirety;

             IT IS FURTHER ORDERED, that the Plaintiff is authorized to sell the
    Real Property pursuant to 11 U.S.C. § 362(h); free and clear of the Defendant’s
    interest therein (with any interest to attach to the sale proceeds) and both the
    Plaintiff and Defendant shall bear the cost and legal expenses of the litigation
    incurred herein regarding sale of the Real Property; (CEC)

             IT IS FURTHER ORDERED, that any further actions or proceedings for
    the sale of the Real Property is subject to further supervision and orders of this
    Court.




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Dated: Brooklyn, New York                                             Carla E. Craig
       September 23, 2019                                     United States Bankruptcy Judge

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